Case 23-40709   Doc 70-10 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                       J - Instrument of Taking Page 1 of 2




                            Exhibit J
                                                 Bk: 59943 Pg: 371

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                                    J - Instrument of Taking Page 2 of 2
               This instrument must be filed for record or registration within 60 days from its date

STATE TAX FORM 301
Revised 3/2009                                                                                                 G.L. c. 60 §§53 and 54
                                               COMMONWEALTH OF MASSACHUSETTS
                                                    TOWN OF WESTBOROUGH
                                               OFFICE OF THE COLLECTOR OF TAXES

    I, Robert C. Haley, Collector of Taxes for the Town of Westborough, acting under General Laws Chapter
60, Sections 53 and 54, hereby take for the city/town the real property described below:

                                                DESCRIPTION OF PROPERTY

PROPERTY: Land and any building(s) thereon CONTAINING: 29.336 AC (more or less)
LOCATION: 231 Turnpike Road
ASSESSORS: 32-48-o
REGISTRY: Worcester District Registry of Deeds Book 19369, Page 75

This land is taken because taxes, as defined in Chapter60, Section 43, assessed on the property to
Westborough SPE LLC for the fiscal year 2018 were not paid within 14 days after a demand for payment was
made on Westborough SPE LLC on June 4, 2018. After notice of intention to take the land was given as
required by law, they remain unpaid along with interest and incidental expenses and costs to the date of taking
as follows:


                    Fiscal Year 2018 Taxes Remaining Unpaid                                  $ 106,944.99
                    Interest to Date of Taking                                               $ 12,673.18
                    Incidental Expenses and Costs to Date of Taking                          $      10.00
                    Total for which Land is Taken                                            $ 119,628.17


                                                                                     Signa ure of Collector of Taxes
Executed as a sealed instrument on December 28, 2018                                ROBERT C. HALEY
                                                                                     Printed/Typed Name of Collector of Taxes

                                       COMMONWEALTH OF MASSACHUSETTS

Worcester District, ss                                                                                      December 28, 2018

On this       +4' day of        ce-rfOoex---           , 2018, before me, the undersigned notary public,
personally appeared Robert C. Haley, proved to me through satisfactory evidence of identification, which
were 1- W          cS L cuk,occ.     , and personally known to me, to be the person whose name is signed on
the preceding or attached document, and acknowledged to me that he/she signed it voluntarily for its stated
purpose, as Collector of Taxes for the City/Town of Westborough.

                                                                                                     E. \wt
                                                                                 Signature of Notary Public
My               x• r                         23 2-0 2
              DEBORAH E. LEDOUX                                                      e-boroJA E. Le_dc,
                   Notary Public                                                 Printed/Typed Name of Notarli:PubYie
             Commonwealth of Massachusetts
         My Commission Expires141,11-10f        APPROVED BY THE COMMISSIONER OF REV
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                                                         --raSTW0RC. Kathryn A, Toomey,               Oh: 59943 Pg: 371
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